Case 1:25-cr-00164-JMC Document 25 Filed 07/15/25 Page 1 of 2

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on March 13, 2025

UNITED STATES OF AMERICA CASE NO. 25-cr-164
v.
EMILY GABRIELLA SOMMER, VIOLATIONS:
18 U.S.C. § 111(a)(1)

(Assaulting, Resisting, or Impeding
Certain Officers or Employees)
Defendant.

SUPERSEDING INDICTMENT

The Grand Jury charges that:
COUNT ONE

On or about May 8, 2025, within the District of ‘Columbia, Emily Gabriella Sommer did
forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and employee of
the United States, and of any branch of the United States Government (including any member of
the uniformed services), to wit: Edward R. Martin, Jr. while such person was engaged in and on
account of the performance of official duties, and where the acts in violation of this section involve
physical contact with the victim.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United

States Code, Section 111(a)(1))

COUNT TWO

On or about May 22, 2025, within the District of Columbia, Emily Gabriella Sommer did
forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and employee of
the United States, and of any branch of the United States Government (including any member of

the uniformed services), to wit: Jeffrey Martin, while such person was engaged in and on account
Case 1:25-cr-00164-JMC Document 25 Filed 07/15/25 Page 2 of 2

of the performance of official duties, and where the acts in violation of this section involve physical
contact with the victim.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))

COUNT THREE

On or about May 22, 2025, within the District of Columbia, Emily Gabriella Sommer did
forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and employee of
the United States, and of any branch of the United States Government (including any member of
the uniformed services), to wit: Megan Kirn, while such person was engaged in and on account of
the performance of official duties, and where the acts in violation of this section involve physical
contact with the victim.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))

JEANINE FERRIS PIRRO A TRUE BILL:
United States Attorney
Gauri Gopal

ASSISTANT UNITED STATES ATTORNEY FOREPERSON.
